     Case: 1:19-cv-03547 Document #: 13 Filed: 06/05/19 Page 1 of 2 PageID #:396




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

H-D U.S.A., LLC,
                                                    Case No. 19-cv-03547
               Plaintiff,
                                                    Judge Gary Feinerman
v.
                                                    Magistrate Judge Jeffrey Cole
46GPFORTYSIX STORE, et al.,
               Defendants.


           PLAINTIFF’S EX PARTE MOTION FOR ENTRY OF A
TEMPORARY RESTRAINING ORDER, INCLUDING A TEMPORARY INJUNCTION,
     A TEMPORARY ASSET RESTRAINT, AND EXPEDITED DISCOVERY

       Plaintiff H-D U.S.A., LLC (“Harley-Davidson” or “Plaintiff”) seeks entry of an ex parte

temporary restraining order, including a temporary injunction against Defendants enjoining the

manufacture, importation, distribution, offering for sale, and sale of counterfeit Harley-Davidson

products, a temporary asset restraint, and expedited discovery in an action arising out of 15

U.S.C. § 1114; Section 43(a) of the Lanham Act, 15 U.S.C. § 1125(a); and the Illinois Uniform

Deceptive Trade Practices Act, 815 ILCS § 510, et seq. A Memorandum of Law in Support is

filed concurrently with this Motion.




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    Case: 1:19-cv-03547 Document #: 13 Filed: 06/05/19 Page 2 of 2 PageID #:397




Dated this 5th day of June 2019.      Respectfully submitted,


                                      /s/ Justin R. Gaudio
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